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                                                                                         Execution Version


                    SUBORDINATION AND INTERCREDITOR AGREEMENT

        This SUBORDINATION AND INTERCREDITOR AGREEMENT is dated December 22, 2021
(this “Agreement”) and is between SOURCEWATER, INC., a Delaware corporation d/b/a Sourcenergy
(“Borrower”), ENERGY DEBT HOLDINGS LLC, a Texas limited liability company (“Lender”) and
JOSHUA ADLER, an individual resident of the State of New Hampshire (“Adler”).

                                                RECITALS

        WHEREAS, Borrower is indebted to Adler pursuant to a Revolving Credit Note dated December
10, 2020 (the “Adler Note”);

        WHEREAS, Borrower has entered into that Senior Secured Credit Note by and between Borrower
and Lender, dated as of the date hereof, providing for a non-revolving line of credit in the aggregate
principal amount of up to FIVE HUNDRED THOUSAND AND 00/100 DOLLARS ($500,000.00) (the
“EDH Note”);

       WHEREAS, as a condition precedent to Lender’s agreement to loan the funds to Borrower, the
Adler Note must be subordinated to the EDH Note;

        WHEREAS, Adler is willing to subordinate the Adler Note to the EDH Note.

                                              AGREEMENT

         NOW, THEREFORE, in consideration of the mutual benefits of the parties and to induce Lender
to make a loan for the benefit of the Borrower, as evidenced and memorialized by the EDH Note, Adler
hereby (a) covenants and agrees, notwithstanding anything to the contrary contained in the Adler Note or
the related Security Agreement or any of the other loan documents (collectively, the “Adler Loan
Documents”), that the payment of any and all of the Adler Note and all amounts due thereunder shall be
and are subordinate and subject in right and time of payment to the payment in full of the Senior Debt (as
defined below), and (b) subordinates the security interest of the Adler Note as documented in that Security
Agreement dated December 10, 2020; and the security interest of the EDH Note, and any renewals or
extensions thereof, shall at all times be prior, superior and senior to the security interest of the Adler Note
from this date forward. Notwithstanding the terms of the Adler Loan Documents, the Borrower hereby
agrees that it may not make, and Adler hereby agrees that he will not accept, except as specifically provided
for in the EDH Note, any distribution (including interest payments) with respect to the Adler Note until the
Senior Debt is paid in full. Notwithstanding the foregoing, in the event the EDH Note has not been drawn
upon and there is no Senior Debt outstanding, payment of any amounts due under the Adler Note shall not
violate this Agreement.

         For purposes of this Agreement, “Senior Debt” shall mean all obligations, liabilities and
indebtedness of every nature of the Borrower, from time to time, owed to Lender under the EDH Note and
related Security Agreement and any other loan documents related to the EDH Note including, without
limitation, the principal amount of all debts, claims and indebtedness, accrued and unpaid interest accruing
thereon and all fees, costs and expenses, whether primary, secondary, direct, contingent, fixed or otherwise,
heretofore, now and from time to time hereafter owing, due or payable, whether before or after the filing of
a proceeding under the Bankruptcy Code.
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        Each holder of Senior Debt, whether now outstanding or hereafter created, incurred, assumed or
guaranteed, shall be deemed to have acquired Senior Debt in reliance upon the provisions contained in this
Agreement.




                                    [Signatures on Following Pages]




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                                           LENDER:

                                           ENERGY DEBT HOLDINGS LLC,
                                           a Texas limited liability company

                                           By:

                                           Name: Jay Whipple

                                           Its: Manager


                                  ACKNOWLEDGEMENT

State of    Oklahoma                       §
                                           §
County of     Oklahoma                     §

The foregoing instrument was acknowledged before me on December 22, 2021              by
   Jay Whipple                 , the Manager      of ENERGY DEBT HOLDINGS LLC, a Texas limited
liability company.


                                           Notary Public

My Commission Expires:
       4.12.2022




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